                              UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                   KNOXVILLE DIVISION

  THE STATE OF TENNESSEE; THE                  )
  STATE OF INDIANA; THE STATE OF               )
  ALABAMA; THE STATE OF ALASKA;                )
  THE STATE OF ARIZONA; THE STATE              )
  OF ARKANSAS; THE STATE OF                    )
  GEORGIA; THE STATE OF KANSAS;                )
  THE COMMONWEALTH OF                          )
  KENTUCKY; THE STATE OF                       )
  LOUISIANA; THE STATE OF                      )
  MISSISSIPPI; THE STATE OF                    )
  MISSOURI; THE STATE OF MONTANA;              )
  THE STATE OF NEBRASKA; THE                   )
  STATE OF OHIO; THE STATE OF                  )
  OKLAHOMA; THE STATE OF SOUTH                 )
  CAROLINA; THE STATE OF SOUTH                 )
  DAKOTA; THE STATE OF TEXAS; THE              )
  STATE OF UTAH; THE                           )
  COMMONWEALTH OF VIRGINIA; THE                )
  STATE OF WEST VIRGINIA,                      )       Case No. 3:22-cv-00257
                                               )
                Plaintiffs,                    )
                                               )
         v.                                    )
                                               )
  UNITED STATES DEPARTMENT OF                  )
  AGRICULTURE; THOMAS VILSACK, in              )
  his official capacity as Secretary of        )
  Agriculture; CINDY LONG, in her official     )
  capacity as Administrator of Food and        )
  Nutrition Service at the United States       )
  Department of Agriculture; ROBERTO           )
  CONTRERAS, in his official capacity as       )
  Director of the Food and Nutrition Service   )
  Civil Rights Division at the United States   )
  Department of Agriculture,                   )
                                               )
                Defendants.                    )


                       MOTION FOR PRELIMINARY INJUNCTION




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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 1 of 9 PageID #: 139
        Plaintiffs are the States of Tennessee, Indiana, Alabama, Alaska, Arkansas, Arizona,

 Georgia, Kansas, Kentucky, Louisiana, Mississippi, Missouri, Montana, Nebraska, Ohio,

 Oklahoma, South Carolina, South Dakota, Texas, Utah, Virginia, and West Virginia. The States

 move under Federal Rule of Civil Procedure 65(a) and 5 U.S.C. § 705 for an order preliminarily

 enjoining the U.S. Department of Agriculture (“USDA”), the Secretary of Agriculture, the

 Administrator of the USDA Food and Nutrition Service, the Director of the Food and Nutrition

 Service Civil Rights Division, their officers, agents, servants, employees, attorneys, and any other

 persons who are in active concert or participation with those individuals from enforcing the

 following documents against Plaintiff States and entities within those States:

    •   The USDA’s reinterpretation of Title IX. USDA, CRD 01-2022, Application of Bostock
        v. Clayton County to Program Discrimination Complaint Processing – Policy Update (May
        5, 2022), https://bit.ly/3NuXnSx (“Memorandum”).

    •   The cover letter for the Memorandum issued by the USDA’s Food and Nutrition Service.
        USDA, Cover Letter to CRD 01-2022, Application of Bostock v. Clayton County to
        Program Discrimination Complaint Processing – Policy Update (May 5, 2022) (“Cover
        Letter”).

    •   The Memorandum’s “questions and answers” document issued by the USDA’s Food and
        Nutrition Service. USDA, CRD 02-2022, Questions and Answers Related to CRD 01-
        2022 Application of Bostock v. Clayton County to Program Discrimination Complaint
        Processing – Policy Update (May 5, 2022), https://bit.ly/3yzKpyG (“Memorandum
        Q&A”).

    •   The additional guidance on the publication of documents and notices related to the USDA’s
        reinterpretation of Title IX issued by the Department’s Food and Nutrition Service. USDA,
        Memorandum Regarding Revised Nondiscrimination Statement and “And Justice for All”
        Posters; Timelines and Guidance for Implementation (May 5, 2022) (“Supplemental
        Memorandum”) (collectively with Memorandum, Cover Letter, and Memorandum Q&A,
        “Memoranda”).

    •   The USDA’s adoption of its new nondiscrimination policy to be adopted in Supplemental
        Nutrition Assistance Program (“SNAP”) Federal-State Agreements. Supplemental
        Nutrition Assistance Program: Civil Rights Update to the Federal-State Agreement, 87
        Fed. Reg. 35,855 (June 14, 2022), https://bit.ly/3bDC4RA (“Final Rule”).

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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 2 of 9 PageID #: 140
        As explained in the States’ accompanying memorandum, the States are likely to succeed

 on their claims alleging that the USDA’s Memoranda and Final Rule violate the Administrative

 Procedure Act (“APA”), 5 U.S.C. § 706. The Memoranda and Final Rule violate the APA’s notice-

 and-comment requirements; are arbitrary and capricious; conflict with Title IX; conflict with the

 Food and Nutrition Act; and violate the Spending Clause, the First Amendment, the Tenth

 Amendment, nondelegation doctrine, and separation-of-powers principles. Preliminary relief is

 necessary to prevent substantial irreparable harms—harms that include forcing States to choose

 between their sovereignty in enacting and enforcing their laws on the one hand and substantial

 federal funding on the other. Preliminary relief will serve the public interest by maintaining the

 status quo and preventing the unlawful new rules from disrupting SNAP programs, State-run

 schools, and other State agencies. See Tennessee v. Dept. of Education, No. 3:21-CV-308, 2022

 WL 2791450 (E.D. Tenn. July 15, 2022).

        Because the Memoranda and Final Rule imminently threaten federal funding for the States,

 the States request expedited briefing. The USDA, for example, requires Tennessee to adopt the

 new policy by August 15, 2022, or risk losing over $6 million in SNAP Nutrition Educational

 Program funding for the next fiscal year. See Niknejad Decl. ¶¶ 10-12 (attached as Exhibit A).

 Accordingly, the States propose the following schedule so that this Court can rule on the States’

 motion before the USDA’s August 15 deadline:

            •   August 2, 2022: Defendants file Response in Opposition to States’ Motion for

                Preliminary Injunction.

            •   August 5, 2022: States file Reply in Support of States’ Motion for Preliminary

                Injunction.




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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 3 of 9 PageID #: 141
        The States further request that this Court hear oral argument on the motion. Argument is

 warranted because this motion raises significant questions of statutory interpretation and

 constitutional law, and it implicates the interests of States, educational institutions, and others

 across the country. The States are available for oral argument during the week of August 8, 2022.

        Finally, the States request that this Court exercise its discretion to waive the security

 requirement of Federal Rule of Civil Procedure 65(c).



 Dated: July 26, 2022

 Respectfully Submitted,


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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 4 of 9 PageID #: 142
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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 5 of 9 PageID #: 143
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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 6 of 9 PageID #: 144
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Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 7 of 9 PageID #: 145
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 *Application for Pro Hac Admission Forthcoming




                                                8

Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 8 of 9 PageID #: 146
                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 26, 2022, a true and exact copy of the foregoing document was

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                                                       /s/ Brandon J. Smith
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                                                       9

Case 3:22-cv-00257-TRM-DCP Document 2 Filed 07/26/22 Page 9 of 9 PageID #: 147
